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         ORDERED in the Southern District of Florida on July 29, 2022.



                                                             Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court



                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                      FORT LAUDERDALE DIVISION

         In re:                                                Case No. 22-14583-SMG
                                                               Chapter 13
         MARISA CHANILE SMITH,

                             Debtor        /

                              ORDER GRANTING MOTION FOR STAY RELIEF
                                 EFFECTIVE AS OF THE PETITION DATE

                  THIS MATTER came before the Court for hearing on July 28, 2022, at 10:00 a.m. upon

         Creditor, Shoma Homes at Nautica Single Family Neighborhood, Inc.’s (“Shoma Homes”) Motion

         for Relief from Stay [ECF 19] (the “Motion”). The Court, having reviewed the Motion and the

         Debtor’s Response to the Motion [ECF 40] and having heard the arguments presented at the

         hearing, finds that the Debtor filed this case in bad faith. This is the Debtor’s third bankruptcy case

         since 2018 and was filed without required documents. The Debtor failed to appear at her meeting

         of creditors and has not made any preconfirmation payments under her Chapter 13 plan.

         Accordingly, it is ordered as follows:

                  1.    The Motion is GRANTED.
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       2.       The automatic stay arising from this bankruptcy proceeding is modified to permit

Shoma Homes to complete the foreclosure sale of the real property located at

       LOT 41, BLOCK 8, OF NAUTICA PLAT, ACCORDING TO THE PLAT
       THEREOF, AS RECORDED IN PLAT BOOK 164, PAGE 36, OF THE
       PUBLIC RECORDS OF BROWARD COUNTY, FLORIDA

       a/k/a 3809 S.W. 164th Terrace, Miramar, FL 33027 (the “Property”).

       3.       The modification of the automatic stay is effective as of the Petition Date in this

bankruptcy case, such that the Certificate of Sale issued on June 14, 2022, at 2:04 p.m.by the Clerk

of the Broward County Court in Broward County Circuit Court Case No. Case No. CACE-20-

015682 (the “Foreclosure Action”) is validated and deemed not in violation of the automatic stay.

The Court in the Foreclosure Action is further authorized take all action necessary to complete the

foreclosure sale of the Property, including but not limited to the issuance of a Certificate of Title

and Writ of Possession.

       4.       Since this Court has ruled that this case will be dismissed by separate order, no 14-

day stay period will apply and the relief provided herein is effective upon entry of this Order.

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Submitted by:

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Attorney Hoffman shall serve a copy of the signed order on all parties served with the Motions and
shall file with the court a certificate of service conforming with Local Rule 2002-1(F).
